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                     IN THE UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

IN RE:                                                    CASE NO. 15-10728-MGW
KAY N JOHNSON
                                                          Chapter 7
                       Debtor


                                    CERTIFICATE OF SERVICE



I HEREBY CERTIFY that a true and correct copy of the Motion to Sell Property Free and Clear of
Liens d o c # 1 7 1 has been furnished by U.S. mail or electronically this October 21, 2019
to the attached mailing matrix.




                                     /s/ Traci K. Stevenson
                                     TRACI K. STEVENSON, Trustee
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                                     (727) 397-4838
                                     Florida Bar# 942227
                                     tracikstevenson@gmail.com
